                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 1 of 18 Page ID #:1



                                  1     Thiago M. Coelho, SBN 324715
                                        thiago@wilshirelawfirm.com
                                  2     Binyamin I. Manoucheri, SBN 336468
                                  3     binyamin@wilshirelawfirm.com
                                        WILSHIRE LAW FIRM
                                  4     3055 Wilshire Blvd., 12th Floor
                                  5     Los Angeles, California 90010
                                        Telephone: (213) 381-9988
                                  6     Facsimile: (213) 381-9989
                                  7
                                        Attorneys for Plaintiff Crystal Redick
                                  8
                                  9                         UNITED STATES DISTRICT COURT

                                 10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                        CRYSTAL REDICK, an individual,           CASE NO.:
                                 12
                                                            Plaintiff,
3055 Wilshire Blvd, 12th Floor




                                                                                         COMPLAINT
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                              v.                                      1. VIOLATIONS OF THE
                                 14                                                      AMERICANS WITH
                                        RELENTLESS SIBLINGS, LLC
                                 15                                                      DISABILITIES ACT OF 1990, 42
                                        d/b/a TAPS FISH HOUSE &
                                                                                         U.S.C. § 12181
                                 16     BREWERY, a California limited
                                                                                      2. VIOLATIONS OF THE UNRUH
                                        liability company; and DOES 1 to 10,
                                 17                                                      CIVIL RIGHTS ACT,
                                        inclusive,
                                                                                         CALIFORNIA CIVIL CODE § 51
                                 18                                                      DEMAND FOR JURY TRIAL
                                                           Defendants.
                                 19
                                 20
                                              Plaintiff Crystal Redick (hereafter “Plaintiff”) brings this action based upon
                                 21
                                        personal knowledge as to herself and her own acts, and as to all other matters upon
                                 22
                                        information and belief, based upon, inter alia, the investigations of her attorneys.
                                 23
                                                                  NATURE OF THE ACTION
                                 24
                                              1.     Plaintiff is a visually impaired and legally blind individual who
                                 25
                                        requires screen-reading software to read website content using her computer.
                                 26
                                        Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with
                                 27
                                        visual impairments who meet the legal definition of blindness in that they have a
                                 28
                                                                                  1
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 2 of 18 Page ID #:2



                                  1     visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                  2     who meet this definition have limited vision. Others have no vision.
                                  3           2.     Plaintiff brings this Complaint to secure redress against Relentless
                                  4     Siblings, LLC d/b/a Taps Fish House & Brewery (hereafter “Defendant”), and
                                  5     DOES 1-10, for its failure to design, construct, maintain, and operate its website to
                                  6     be fully and equally accessible to and independently usable by Plaintiff and other
                                  7     blind or visually-impaired individuals. Defendant’s denial of full and equal access
                                  8     to its website, and therefore denial of its products and services offered thereby and
                                  9     in conjunction with its physical locations, is a violation of Plaintiff’s rights under
                                 10     the Americans with Disabilities Act (“ADA”) and California’s Unruh Civil Rights
                                 11     Act (“UCRA”).
                                 12           3.     Because     Defendant’s     website,    https://tapsfishhouse.com/     (the
3055 Wilshire Blvd, 12th Floor




                                        “website” or “Defendant’s website”), is not fully or equally accessible to blind and
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                 14     visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 15     injunction to cause a change in Defendant’s corporate policies, practices, and
                                 16     procedures so that Defendant’s website will become and remain accessible to
                                 17     Plaintiff and other blind and visually impaired consumers.
                                 18                                       THE PARTIES
                                 19           4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 20     County of Los Angeles. Plaintiff is a legally blind, visually impaired, handicapped
                                 21     person, and a member of a protected class of individuals under the ADA, pursuant
                                 22     to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth
                                 23     at 28 CFR §§ 36.101 et seq.
                                 24           5.     Defendant is a California limited liability company with its
                                 25     headquarters in Tustin, California. Defendant’s servers for the website are in the
                                 26     United States. Defendant conducts a large amount of its business in California and
                                 27     the United States as a whole. The physical locations where Defendant’s goods and
                                 28     services are sold to the public constitutes places of public accommodation.
                                                                                   2
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 3 of 18 Page ID #:3



                                  1     Defendant’s restaurants provide to the public important goods and services.
                                  2     Defendant’s website provides consumers with access to award-winning, fresh, and
                                  3     quality food “by bringing your table flavors from all over the world.” Consumers
                                  4     can access information regarding Defendant’s menus, reservations, online ordering,
                                  5     gift cards, private events, careers, and Defendant’s contact page.
                                  6           6.     Plaintiff is unaware of the true names, identities, and capacities of each
                                  7     Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                  8     complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                  9     ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 10     Defendant sued herein as a DOE is legally responsible in some manner for the
                                 11     events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 12     proximately caused injuries and damages to Plaintiff as set forth below.
3055 Wilshire Blvd, 12th Floor




                                                     Defendant’s restaurants are a public accommodation within the
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13           7.
                                 14     definition of Title III of the ADA, 42 U.S.C. § 12181(7).
                                 15           8.     The website, https://tapsfishhouse.com/, is a service, privilege, or
                                 16     advantage of Defendant’s services, products, and location.
                                 17                              JURISDICTION AND VENUE
                                 18           9.     Defendant is subject to personal jurisdiction in this District. Defendant
                                 19     has been and continues to commit the acts or omissions alleged herein in the Central
                                 20     District of California, that caused injury, and violated rights prescribed by the ADA
                                 21     and UCRA, to Plaintiff. A substantial part of the acts and omissions giving rise to
                                 22     Plaintiff’s claims occurred in the Central District of California. Specifically, on
                                 23     several separate occasions, Plaintiff has been denied the full use and enjoyment of
                                 24     the facilities, goods, and services of Defendant’s website in Los Angeles County.
                                 25     The access barriers Plaintiff has encountered on Defendant’s website have caused
                                 26     a denial of Plaintiff’s full and equal access multiple times in the past and now deter
                                 27     Plaintiff on a regular basis from accessing Defendant’s website. Similarly, the
                                 28     access barriers Plaintiff has encountered on Defendant’s website have impeded
                                                                                  3
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 4 of 18 Page ID #:4



                                  1     Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s
                                  2     brick-and-mortar locations.
                                  3             10.   This Court also has subject-matter jurisdiction over this action
                                  4     pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                  5     under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1367.
                                  6             11.   This Court has personal jurisdiction over Defendant because it
                                  7     conducts and continues to conduct a substantial and significant amount of business
                                  8     in the State of California, County of Los Angeles, and because Defendant’s
                                  9     offending website is available across California.
                                 10             12.   Venue is proper in the Central District of California pursuant to 28
                                 11     U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 12     continues to conduct a substantial and significant amount of business in this District,
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     Defendant is subject to personal jurisdiction in this District, and a substantial
                                 14     portion of the conduct complained of herein occurred in this District.
                                 15           THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 16             13.   The Internet has become a significant source of information, a portal,
                                 17     and a tool for conducting business, doing everyday activities such as shopping,
                                 18     learning, banking, researching, as well as many other activities for sighted, blind,
                                 19     and visually impaired persons alike.
                                 20             14.   In today's tech-savvy world, blind and visually impaired people have
                                 21     the ability to access websites using keyboards in conjunction with screen access
                                 22     software that vocalizes the visual information found on a computer screen. This
                                 23     technology is known as screen-reading software.          Screen-reading software is
                                 24     currently the only method a blind or visually impaired person may use to
                                 25     independently access the internet. Unless websites are designed to be read by
                                 26     screen-reading software, blind and visually impaired persons are unable to fully
                                 27     access websites, and the information, products, and services contained thereon.
                                 28     ///
                                                                                   4
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 5 of 18 Page ID #:5



                                  1           15.    Blind and visually impaired users of Windows operating system-
                                  2     enabled computers and devices have several screen-reading software programs
                                  3     available to them. Some of these programs are available for purchase and other
                                  4     programs are available without the user having to purchase the program separately.
                                  5     Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                  6     popular, separately purchased and downloaded screen-reading software program
                                  7     available for a Windows computer.
                                  8           16.    For screen-reading software to function, the information on a website
                                  9     must be capable of being rendered into text. If the website content is not capable
                                 10     of being rendered into text, the blind or visually impaired user is unable to access
                                 11     the same content available to sighted users.
                                 12           17.    The international website standards organization, the World Wide
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     Web Consortium, known throughout the world as W3C, has published Success
                                 14     Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 15     hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 16     accessible to blind and visually impaired people. These guidelines are adopted,
                                 17     implemented, and followed by most large business entities who want to ensure their
                                 18     websites are accessible to users of screen-reading software programs. Though
                                 19     WCAG 2.1 has not been formally adopted as the standard for making websites
                                 20     accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 21     maintain, and provide a website that is accessible under the ADA to the public.
                                 22           18.    Within this context, the Ninth Circuit has recognized the viability of
                                 23     ADA claims against commercial website owners/operators with regard to the
                                 24     accessibility of such websites. Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 905-
                                 25     06 (9th Cir. 2019), cert. denied, 140 S.Ct. 122, 206 L. Ed. 2d 41 (2019). This is in
                                 26     addition to the numerous courts that have already recognized such application.
                                 27           19.    Each of Defendant’s violations of the Americans with Disabilities Act
                                 28     is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                                                                  5
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 6 of 18 Page ID #:6



                                  1     Act provides that any violation of the ADA constitutes a violation of the Unruh
                                  2     Civil Rights Act. Cal. Civ. Code § 51(f).
                                  3           20.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                  4     equal access to their accommodations, facilities, and services.         A substantial
                                  5     motivating reason for Defendant to deny Plaintiff access was the perception of
                                  6     Plaintiff’s disability.     Defendant’s denial of Plaintiff’s accessibility was a
                                  7     substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                  8     to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                  9     in causing the lack of access to Plaintiff. Unruh Civil Rights Act, Cal. Civ. Code §
                                 10     51.
                                 11           21.    Inaccessible or otherwise non-compliant websites pose significant
                                 12     access barriers to blind and visually impaired persons.              Common barriers
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     encountered by blind and visually impaired persons include, but are not limited to,
                                 14     the following:
                                 15                  a. A text equivalent for every non-text element is not provided;
                                 16                  b. Title frames with text are not provided for identification and
                                 17                      navigation;
                                 18                  c. Equivalent text is not provided when using scripts;
                                 19                  d. Forms with the same information and functionality as for sighted
                                 20                      persons are not provided;
                                 21                  e. Information about the meaning and structure of content is not
                                 22                      conveyed by more than the visual presentation of content;
                                 23                  f. Text cannot be resized without assistive technology up to 200
                                 24                      percent without loss of content or functionality;
                                 25                  g. If the content enforces a time limit, the user is not able to extend,
                                 26                      adjust or disable it;
                                 27                  h. Web pages do not have titles that describe the topic or purpose;
                                 28                  i. The purpose of each link cannot be determined from the link text
                                                                                   6
                                                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 7 of 18 Page ID #:7



                                  1                    alone or from the link text and its programmatically determined link
                                  2                    context;
                                  3                 j. One or more keyboard operable user interface lacks a mode of
                                  4                    operation where the keyboard focus indicator is discernible;
                                  5                 k. The default human language of each web page cannot be
                                  6                    programmatically determined;
                                  7                 l. When a component receives focus, it may initiate a change in
                                  8                    context;
                                  9                 m. Changing the setting of a user interface component may
                                 10                    automatically cause a change of context where the user has not been
                                 11                    advised before using the component;
                                 12                 n. Labels or instructions are not provided when content requires user
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                    input;
                                 14                 o. In content which is implemented by using markup languages,
                                 15                    elements do not have complete start and end tags, elements are not
                                 16                    nested according to their specifications, elements may contain
                                 17                    duplicate attributes and/or any IDs are not unique;
                                 18                 p. Inaccessible Portable Document Format (PDFs); and
                                 19                 q. The name and role of all User Interface elements cannot be
                                 20                    programmatically determined; items that can be set by the user
                                 21                    cannot be programmatically set; and/or notification of changes to
                                 22                    these items is not available to user agents, including assistive
                                 23                    technology.
                                 24                                FACTUAL BACKGROUND
                                 25           22.   Defendant offers the https://tapsfishhouse.com/ website to the public.
                                 26     The website offers features which should allow all consumers to access the goods
                                 27     and services which Defendant offers in connection with its physical locations. The
                                 28     goods and services offered by Defendant include, but are not limited to, the
                                                                                 7
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 8 of 18 Page ID #:8



                                  1     following: Defendant’s dinner menu with offerings such as starters, sushi, salads,
                                  2     burgers, sandwiches, seafood, and steaks; Defendant’s dessert menu with offerings
                                  3     such as the classic crème brulee, buttercake, flourless chocolate lava cake, s’mores
                                  4     tableside, and coffee; Defendant’s happy hour menu with items such as well
                                  5     cocktails, all taps craft beer, house cocktails, wines by the glass, specialty cocktails,
                                  6     stone oven pizzas, happy hour specials such as chowder, raw oysters, chowder fries,
                                  7     brewery pretzel, fish tacos, garlic fries, meatballs, and truffle bacon sliders;
                                  8     Defendant’s award-winning Sunday brunch menu which includes refreshing
                                  9     mimosas and morning cocktails; and Defendant’s craft beer menu featuring core
                                 10     craft beer selections such as American cream ale, Flex IPA, Coffin Corner, Irish
                                 11     Red, White Ale, Chai Me A River, Juicy Liu, Galaxy Revengence, and Soiree.
                                 12     Furthermore, Defendant’s website allows consumers to make reservations, order
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     online for pickup or delivery, access Defendant’s to-go menu, purchase gift cards,
                                 14     book private events, and contact Defendant.
                                 15           23.    Based on information and belief, it is Defendant’s policy and practice
                                 16     to deny Plaintiff, along with other blind or visually impaired users, access to
                                 17     Defendant’s website, and to therefore specifically deny the goods and services that
                                 18     are offered and integrated within Defendant’s restaurants. Due to Defendant’s
                                 19     failure and refusal to remove access barriers on its website, Plaintiff and other
                                 20     visually impaired persons have been and are still being denied equal and full access
                                 21     to Defendant’s restaurants and the numerous goods, services, and benefits offered
                                 22     to the public through Defendant’s website.
                                 23     DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT, CAL. CIV.
                                 24                        CODE § 51(f) DENY PLAINTIFF ACCESS
                                 25           24.    Plaintiff is a visually impaired and legally blind person, who cannot
                                 26     use a computer without the assistance of screen-reading software. However,
                                 27     Plaintiff is a proficient user of the JAWS or NV ACCESS screen-reader(s) as well
                                 28     as Mac’s VoiceOver and uses it to access the internet. Plaintiff has visited
                                                                                    8
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 9 of 18 Page ID #:9



                                  1     https://tapsfishhouse.com/ on several separate occasions using the JAWS and/or
                                  2     VoiceOver screen-readers.
                                  3           25.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                  4     encountered multiple access barriers which denied Plaintiff full and equal access to
                                  5     the facilities, goods, and services offered to the public and made available to the
                                  6     public on Defendant’s website. Due to the widespread access barriers Plaintiff
                                  7     encountered on Defendant’s website, Plaintiff has been deterred, on a regular basis,
                                  8     from accessing Defendant’s website.
                                  9           26.    While attempting to navigate Defendant’s website, Plaintiff
                                 10     encountered multiple accessibility barriers for blind or visually impaired people that
                                 11     include, but are not limited to, the following:
                                 12                  a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                     is invisible code embedded beneath a graphic or image on a website
                                 14                     that is read to a user by a screen-reader. For graphics or images to
                                 15                     be fully accessible for screen-reader users, it requires that alt-text
                                 16                     be coded with each graphic or image so that screen-reading
                                 17                     software can speak the alt-text to describe the graphic or image
                                 18                     where a sighted user would just see the graphic or image. Alt-text
                                 19                     does not change the visual presentation, but instead a text box
                                 20                     shows when the cursor hovers over the graphic or image. The lack
                                 21                     of alt-text on graphics and images prevents screen-readers from
                                 22                     accurately vocalizing a description of the image or graphic. As a
                                 23                     result, Plaintiff is unable to access information regarding
                                 24                     Defendant’s menus, reservations, online ordering, gift cards,
                                 25                     private events, careers, and Defendant’s contact page, or complete
                                 26                     any purchases;
                                 27                  b. Empty Links that contain No Text causing the function or purpose
                                 28                     of the link to not be presented to the user. This can introduce
                                                                                  9
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 10 of 18 Page ID #:10



                                  1                   confusion for keyboard and screen-reader users;
                                  2                c. Redundant Links where adjacent links go to the same URL address
                                  3                   which results in additional navigation and repetition for keyboard
                                  4                   and screen-reader users; and
                                  5                d. Linked Images missing alt-text, which causes problems if an image
                                  6                   within a link does not contain any descriptive text and that image
                                  7                   does not have alt-text. A screen reader then has no content to
                                  8                   present the user as to the function of the link, including information
                                  9                   or links for and contained in PDFs.
                                 10         27.    Recently in 2022, Plaintiff attempted to do business with Defendant
                                 11   on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 12   website.
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13         28.    Despite past and recent attempts to do business with Defendant on its
                                 14   website, the numerous access barriers contained on the website and encountered by
                                 15   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 16   Plaintiff, as a result of the barriers on Defendant’s website, continues to be deterred
                                 17   from accessing Defendant’s website. Likewise, based on the numerous access
                                 18   barriers Plaintiff has been deterred and impeded from the full and equal enjoyment
                                 19   of goods and services offered in Defendant’s restaurant.
                                 20           DEFENDANT’S WEBSITE HAS A SUFFICIENT NEXUS TO
                                 21       DEFENDANT’S RESTAURANT LOCATIONS TO SUBJECT THE
                                 22      WEBSITE TO THE REQUIREMENTS OF THE AMERICANS WITH
                                 23                                  DISABILITIES ACT
                                 24         29.    In the Ninth Circuit a denial of equal access to a website can support
                                 25   an ADA claim if the denial has prevented or impeded a visually impaired plaintiff
                                 26   from equal access to, or enjoyment of, the goods and services offered at the
                                 27   defendant’s physical facilities. See Martinez v. San Diego County Credit Union, 50
                                 28   Cal. App. 5th, 1048, 1063 (2020) (citing Robles v. Domino’s Pizza, LLC, 913 F.3d
                                                                                10
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 11 of 18 Page ID #:11



                                  1   898, 905-06 (9th Cir. 2019)).
                                  2         30.    Defendant’s website is subject to the ADA because the goods and
                                  3   services offered on the website are an extension of the goods and services offered
                                  4   in Defendant’s brick-and-mortar restaurants. For example, the food available for
                                  5   online ordering is available for purchase at Defendant’s brick-and-mortar
                                  6   restaurants and the services offered on the website can also be accessed in
                                  7   Defendant’s physical locations. Thus, since the website “facilitate[s] access to the
                                  8   goods and services of a place of public accommodation”, the website falls within
                                  9   the protection of the ADA because the Website “connects customers to the goods
                                 10   and services of [Defendant’s] physical” restaurant. Robles, 913 F.3d at 905.
                                 11         31.    Defendant’s website is replete with barriers, including but not limited
                                 12   to, images lacking alternative text which impede Plaintiff from accessing the goods
3055 Wilshire Blvd, 12th Floor




                                      and services of Defendant’s website. For example, Plaintiff, who was browsing
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                 14   through the menu, could not use her screen reader to read Defendant’s menu
                                 15   because the menu information page is displayed without alternative text. When
                                 16   images lack alternative text, screen-readers announce it with a generic name,
                                 17   making it unusable for users who rely on screen-readers. Thus, images lacking the
                                 18   correct alternative text, prevents legally blind users, such as Plaintiff, to read or
                                 19   interpret the purpose of the image. This prevented Plaintiff from accessing the
                                 20   goods and services available on Defendant’s website as she was unable to read and
                                 21   understand the menu information page. If Defendant had sufficiently coded the
                                 22   images on its website to have alternative text, to be readable by Plaintiff’s screen-
                                 23   reader, Plaintiff would have been able to interact with these elements and read
                                 24   Defendant’s menu to complete a purchase as a sighted individual could.
                                 25         32.    Accordingly, Plaintiff was denied the ability to browse and make a
                                 26   purchase, because Defendant failed to have the proper procedures in place to ensure
                                 27   that content uploaded to the website contains the proper coding to convey the
                                 28   meaning and structure of the website and the goods and services provided by
                                                                               11
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 12 of 18 Page ID #:12



                                  1   Defendant.
                                  2         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                  3         33.    Due to the inaccessibility of the Defendant’s website, blind and
                                  4   visually impaired customers such as Plaintiff, who need screen-readers, cannot fully
                                  5   and equally use or enjoy the facilities and services Defendant offers to the public
                                  6   on its website. The access barriers Plaintiff has encountered have caused a denial
                                  7   of Plaintiff’s full and equal access in the past and now deter Plaintiff on a regular
                                  8   basis from accessing the website.
                                  9         34.    These access barriers on Defendant’s website have deterred Plaintiff
                                 10   from visiting Defendant’s physical locations and enjoying the goods and services
                                 11   equal to sighted individuals because Plaintiff was unable to access Defendant’s
                                 12   menus and prices to determine which food or beverage items to purchase at
3055 Wilshire Blvd, 12th Floor




                                      Defendant’s restaurant, on its website. Plaintiff intends to visit the Defendant’s
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                 14   website in the near future if Plaintiff is able to gain equal access to Defendant’s
                                 15   website.
                                 16         35.    If the website were equally accessible to all, Plaintiff could
                                 17   independently navigate the website and complete a desired transaction, as sighted
                                 18   individuals do.
                                 19         36.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 20   knowledge of the access barriers that make these services inaccessible and
                                 21   independently unusable by blind and visually impaired people.
                                 22         37.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 23   with equal access to the website, Plaintiff alleges that Defendant engaged in acts of
                                 24   intentional discrimination, including, but not limited to, the following policies or
                                 25   practices: constructing and maintaining a website that is inaccessible to visually-
                                 26   impaired individuals, including Plaintiff; failing to construct and maintain a website
                                 27   that is sufficiently intuitive so as to be equally accessible to visually-impaired
                                 28   individuals, including Plaintiff; and failing to take actions to correct these access
                                                                                12
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 13 of 18 Page ID #:13



                                  1   barriers in the face of substantial harm and discrimination to blind and visually-
                                  2   impaired consumers, such as Plaintiff, as a member of a protected class.
                                  3         38.    The Defendant uses standards, criteria or methods of administration
                                  4   that have the effect of discriminating or perpetuating the discrimination against
                                  5   others, as alleged herein.
                                  6         39.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                  7   seeks in this action. In relevant part, the ADA requires:
                                  8         In the case of violations of … this title, injunctive relief shall include
                                            an order to alter facilities to make such facilities readily accessible to
                                  9
                                            and usable by individuals with disabilities …. Where appropriate,
                                 10         injunctive relief shall also include requiring the … modification of a
                                            policy …. 42 U.S.C. § 12188(a)(2).
                                 11
                                            40.    Because Defendant’s website has never been equally accessible, and
                                 12
                                      because Defendant lacks a corporate policy that is reasonably calculated to cause
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                      the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 14
                                      U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                 15
                                      retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 16
                                      with WCAG 2.1 guidelines for Defendant’s website.             The website must be
                                 17
                                      accessible for individuals with disabilities who use desktop computers, laptops,
                                 18
                                      tablets, and smartphones. Plaintiff seeks that this permanent injunction require
                                 19
                                      Defendant to cooperate with the agreed-upon consultant to: train Defendant’s
                                 20
                                      employees and agents who develop the website on accessibility compliance under
                                 21
                                      the WCAG 2.1 guidelines; regularly check the accessibility of the website under
                                 22
                                      the WCAG 2.1 guidelines; regularly test user accessibility by blind or vision-
                                 23
                                      impaired persons to ensure that the Defendant’s website complies under the WCAG
                                 24
                                      2.1 guidelines; and develop an accessibility policy that is clearly disclosed on the
                                 25
                                      Defendant’s website, with contact information for users to report accessibility-
                                 26
                                      related problems and require that any third-party vendors who participate on the
                                 27
                                      Defendant’s website to be fully accessible to the disabled by conforming with
                                 28
                                                                                13
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 14 of 18 Page ID #:14



                                  1   WCAG 2.1.
                                  2         41.    If Defendant’s website were accessible, Plaintiff could independently
                                  3   access information about the services offered and goods available for online
                                  4   purchase.
                                  5         42.    Although Defendant may currently have centralized policies regarding
                                  6   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                  7   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                  8   and independently usable by, blind and other visually impaired consumers.
                                  9         43.    Defendant has, upon information and belief, invested substantial sums
                                 10   in developing and maintaining Defendant’s website, and Defendant has generated
                                 11   significant revenue from Defendant’s website. These amounts are far greater than
                                 12   the associated cost of making Defendant’s website equally accessible to visually
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13   impaired customers.
                                 14         44.    Without injunctive relief, Plaintiff will continue to be unable to
                                 15   independently use Defendant’s website, violating her rights.
                                 16                                         COUNT I
                                 17      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 18                                  U.S.C. § 12181 ET SEQ.
                                 19         45.    Plaintiff alleges and incorporates herein by reference each and every
                                 20   allegation contained in paragraphs 1 through 44, inclusive, of this Complaint as if
                                 21   set forth fully herein.
                                 22         46.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 23   provides: “No individual shall be discriminated against on the basis of disability in
                                 24   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 25   advantages, or accommodations of any place of public accommodation by any
                                 26   person who owns, leases (or leases to), or operates a place of public
                                 27   accommodation.” 42 U.S.C. § 12182(a).
                                 28         47.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                                                                14
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 15 of 18 Page ID #:15



                                  1   discrimination also includes, among other things: “a failure to make reasonable
                                  2   modifications in policies, practices, or procedures, when such modifications are
                                  3   necessary to afford such goods, services, facilities, privileges, advantages, or
                                  4   accommodations to individuals with disabilities, unless the entity can demonstrate
                                  5   that making such modifications would fundamentally alter the nature of such goods,
                                  6   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                  7   take such steps as may be necessary to ensure that no individual with a disability is
                                  8   excluded, denied services, segregated or otherwise treated differently than other
                                  9   individuals because of the absence of auxiliary aids and services, unless the entity
                                 10   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 11   good, service, facility, privilege, advantage, or accommodation being offered or
                                 12   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13   accommodation shall take those steps that may be necessary to ensure that no
                                 14   individual with a disability is excluded, denied services, segregated or otherwise
                                 15   treated differently than other individuals because of the absence of auxiliary aids
                                 16   and services, unless the public accommodation can demonstrate that taking those
                                 17   steps would fundamentally alter the nature of the goods, services, facilities,
                                 18   privileges, advantages, or accommodations being offered or would result in an
                                 19   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                 20   order to be effective, auxiliary aids and services must be provided in accessible
                                 21   formats, in a timely manner, and in such a way as to protect the privacy and
                                 22   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 23         48.    Defendant’s locations are “public accommodations” within the
                                 24   meaning of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in
                                 25   revenue from the sale of its amenities and services, privileges, advantages, and
                                 26   accommodations in California through its locations, related services, privileges,
                                 27   advantages, and accommodations, and its website, https://tapsfishhouse.com/, is a
                                 28   service, privilege, advantage, and accommodation provided by Defendant that is
                                                                               15
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 16 of 18 Page ID #:16



                                  1   inaccessible to customers who are visually-impaired like Plaintiff.                 This
                                  2   inaccessibility denies visually impaired customers full and equal enjoyment of and
                                  3   access to the facilities and services, privileges, advantages, and accommodations
                                  4   that Defendant makes available to the non-disabled public. Defendant is violating
                                  5   the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant
                                  6   denies visually impaired customers the services, privileges, advantages, and
                                  7   accommodations provided by https://tapsfishhouse.com/. These violations are
                                  8   ongoing.
                                  9          49.    Defendant’s actions constitute intentional discrimination against
                                 10   Plaintiff on the basis of a disability in violation of the Americans with Disabilities
                                 11   Act, 42 U.S.C. § 12181 et seq. in that: Defendant has constructed a website that is
                                 12   inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13   failed to take adequate actions to correct these barriers even after being notified of
                                 14   the discrimination that such barriers cause.
                                 15          50.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 16   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 17                                         COUNT II
                                 18     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 19                                CIVIL CODE § 51 ET SEQ.
                                 20          51.    Plaintiff alleges and incorporates herein by reference each and every
                                 21   allegation contained in paragraphs 1 through 50, inclusive, of this Complaint as if
                                 22   set forth fully herein.
                                 23          52.    Defendant’s locations are “business establishments” within the
                                 24   meaning of the California Civil Code § 51 et seq. Defendant generates millions of
                                 25   dollars in revenue from the sale of its services in California through its locations
                                 26   and related services, and https://tapsfishhouse.com/ is a service provided by
                                 27   Defendant that is inaccessible to customers who are visually impaired like Plaintiff.
                                 28   This inaccessibility denies visually impaired customers full and equal access to
                                                                                 16
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 17 of 18 Page ID #:17



                                  1   Defendant’s facilities and services that Defendant makes available to the non-
                                  2   disabled public. Defendant is violating the Unruh Civil Rights Act, California Civil
                                  3   Code § 51 et seq., in that Defendant is denying visually impaired customers the
                                  4   services provided by https://tapsfishhouse.com/. These violations are ongoing.
                                  5         53.      Defendant’s actions constitute intentional discrimination against
                                  6   Plaintiff on the basis of a disability in violation of the Unruh Civil Rights Act,
                                  7   California Civil Code § 51 et seq. in that: Defendant has constructed a website that
                                  8   is inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
                                  9   failed to take adequate actions to correct these barriers even after being notified of
                                 10   the discrimination that such barriers cause.
                                 11         54.      Defendant is also violating the Unruh Civil Rights Act, California
                                 12   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 14   of the California Civil Code provides that a violation of the right of any individual
                                 15   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 16         55.      The actions of Defendant were and are in violation of the Unruh Civil
                                 17   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff is entitled to
                                 18   injunctive relief remedying the discrimination.
                                 19         56.      Plaintiff is also entitled to statutory minimum damages pursuant to
                                 20   California Civil Code § 52 for each and every offense.
                                 21         57.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.
                                 22         58.      Plaintiff is also entitled to a preliminary and permanent injunction
                                 23   enjoining Defendant from violating the Unruh Civil Rights Act, California Civil
                                 24   Code § 51 et seq., and requiring Defendant to take the steps necessary to make
                                 25   https://tapsfishhouse.com/ readily accessible to and usable by visually impaired
                                 26   individuals.
                                 27   ///
                                 28   ///
                                                                                  17
                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                  Case 8:22-cv-00972-DOC-KES Document 1 Filed 05/11/22 Page 18 of 18 Page ID #:18



                                  1                                PRAYER FOR RELIEF
                                  2          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
                                  3   in her favor and against Defendant as follows:
                                  4          A.    A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                  5                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                  6                enjoining Defendant from violating the Unruh Civil Rights Act and
                                  7                ADA and requiring Defendant to take the steps necessary to make
                                  8                https://tapsfishhouse.com/ readily accessible to and usable by visually-
                                  9                impaired individuals;
                                 10          B.    An award of statutory minimum damages of $4,000 per offense
                                 11                pursuant to section 52(a) of the California Civil Code.
                                 12          C.    For attorneys’ fees and expenses pursuant to California Civil Code §§
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 14          D.    For pre-judgment interest to the extent permitted by law;
                                 15          E.    For costs of suit; and
                                 16          F.    For such other and further relief as the Court deems just and proper.
                                 17                            DEMAND FOR JURY TRIAL
                                 18          Plaintiff, on behalf of herself, hereby demands a jury trial for all claims so
                                 19   triable.
                                 20
                                 21   Dated: May 11, 2022                           Respectfully Submitted,
                                 22
                                                                                    /s/ Thiago M. Coelho
                                 23                                                 Thiago M. Coelho
                                 24                                                 Binyamin I. Manoucheri
                                                                                    WILSHIRE LAW FIRM
                                 25                                                 Attorneys for Plaintiff Crystal Redick
                                 26
                                 27
                                 28
                                                                               18
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
